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Progress Notes                                                                                                Printed On Feb 7, 2020
           PODIATRIC PHYSICIAN
           Signed: 11/03/2016 10:44

            LOCAL TITLE: NURSING TELEPHONE/NON FACE TO FACE NOTE
           STANDARD TITLE: PRIMARY CARE NOTE
           DATE OF NOTE: NOV 03, 2016@10:08     ENTRY DATE: NOV 03, 2016@10:09:19
                 AUTHOR: GODFREY,SANDRA W RN EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

           NURSING TELEPHONE/NON FACE TO FACE NOTE

           *****NOTE: Full name and social security number verification required.
           DOB and picture ID to be used only if unable to verify using
           full name and social security.******

           Please select the two patient identifiers used to verify patient:

           Patient Name , Social Security number, Date of Birth

           Information from:
            Patient



           Select the reason for this call:

           FOCUS:       Inquiring if his medication could be changed from Enbrel to Humira.

           DATA: Veteran came into the office today and stated that the Enbrel takes a few
           days to kick in and then it does not last for the entire two weeks. The burning
           in his feet returns within about one week.

           ACTION: Veteran is requesting that he be changed to Humira in hopes that it
           will keep his pain in check. I informed veteran that I would put a note in for
           Dr. McGrath and that he should call me on Wednesday, 11/9/16 if he has not heard
           anything from Dr. McGrath.

           RESPONSE: Veteran thanked me for my assistance and will wait for Dr. McGrath to
           decide on the medication.

           /es/ SANDRA W GODFREY RN
           RN
           Signed: 11/03/2016 10:13

            LOCAL TITLE: NURSING TELEPHONE/NON FACE TO FACE NOTE
           STANDARD TITLE: PRIMARY CARE NOTE
           DATE OF NOTE: OCT 21, 2016@10:45     ENTRY DATE: OCT 21, 2016@10:45:36
                 AUTHOR: GODFREY,SANDRA W RN EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
NASSET,KENNETH WILLIAM                                           Printed at SE LOUISIANA VETERANS HCS
50390 HIGHWAY 1065
TICKFAW, LOUISIANA 70466


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Progress Notes                                                                                                Printed On Feb 7, 2020
           NURSING TELEPHONE/NON FACE TO FACE NOTE

           *****NOTE: Full name and social security number verification required.
           DOB and picture ID to be used only if unable to verify using
           full name and social security.******

           Please select the two patient identifiers used to verify patient:

           Patient Name , Social Security number, Date of Birth

           Information from:

           Patient

           Select the reason for this call:

           FOCUS:       Redness at the site of his etanercept injection.

           DATA:   Veteran stated that he did his injection two days ago and last night on
           10/20/16 he noticed that the area was red and warm to the touch. When he
           awakened this morning, the area was still reddened, but not as much and it was
           not as warm.

           Veteran also stated that one of the new medications Dr. McGrath ordered for him
           to help with pain is not working very well. Asked if Dr. McGrath could advise.

           ACTION: Instructed veteran that should the area become more red, hot to the
           touch and/or he starts to run fever, he should go to the nearest ER for
           evaluation. Also encouraged him to place an ice pack on the site for 15 minutes
           every hour.



           /es/ SANDRA W GODFREY RN
           RN
           Signed: 10/21/2016 10:53

            LOCAL TITLE: CPAP OR BIPAP PRESCRIPTION CONSULT NOTE
           STANDARD TITLE: PULMONARY C & P EXAMINATION CONSULT
           DATE OF NOTE: OCT 19, 2016@08:45     ENTRY DATE: OCT 19, 2016@08:45:55
                 AUTHOR: BUTLER,JULIUS C      EXP COSIGNER: THAMMASITBOON,SUPAT MD
                URGENCY:                            STATUS: COMPLETED

           Annual Renewal

           REASON FOR REQUEST: (complaints & findings)SLEEP PROBLEMS


           DIAGNOSIS:          OSA

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
NASSET,KENNETH WILLIAM                                           Printed at SE LOUISIANA VETERANS HCS
50390 HIGHWAY 1065
TICKFAW, LOUISIANA 70466


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